Case 1:99-cr-00131-RJA-LGF Document 1249 Filed 12/12/05 Page 1 of 6

%A0 45% © (Rev. 12/03) Judgment in a Criminal Case P4880 MJQisb

; Sheet |

UNITED STATES DISTRICT COURT

 

 

 

WESTERN District of NEW YORK
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
yv.
Case Number: 1:99CR0013 1-004
MOHAMED ABUHAMRA USM Number: 09955-055

David Gerald Jay
Detendant’s Attomey

 

 

 

 

 

 

 

 

TH DEFENDANT: .
CJ plkaded guilty to count(s) *
CJ pifaded nolo contendere to count(s) :
which was accepted by the court. c
I} wes found guilty on count(s) 12,4 &5
afger a plea of nat guilty. :
The gefendant is adjudicated guilty of these offenses:
Tith@& Section Nature of Offense Offense Ended Count
18 LES.C. §1956(h) & §2 Conspiracy to Commit Money Laundering 1998 I
18 UBS.C. §2342(a),
§234A(a) & §2 ‘frafficking in Contraband Cigarettes 12/09/94 2
01/03/95 4
01/08/95 5
The defendant is sentenced as provided in pages 2 through 6 of this judgment, The sentence is imposed pursuant to
the entencing Reform Act of 1984.
C] the defendant has been found not guilty on count(s)
OC chunt(s} Ol is (Ol are dismissed on the motion of the United Siates.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mpiling address until all fines, restitution, costs, and specia! assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes In economic circumstances.

December 1, 2005

Date of Imposition of Judgment

Sigdater® of Judge 4

RICHARD J. ARCARA, Chief U.S. District Judge
Name and Title of Judge

Dee. Z, AOD K

Date

 

 
. Case 1:99-cr-00131-RJA-LGF Document 1249 Filed 12/12/05 Page 2 of 6

“

 

AO 24483 , (Rev. 12/03} Judgment in Criminal Case P4880 MIQisbh
. Sheet 2 — imprisonment
Judgment -- Page 2 of 6
DEHENDANT: MOHAMED ABUHAMRA
CASE NUMBER: 1:99CRO013 1-004
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
totalfterm of: 42, months on each count to be served concurrently, The cost of incarceration fee is waived.

Purtuant to 18:3664(n), if the defendant is obligated to provide restitution or a fine is owed and he receives
resqurces from any source, including inheritance, settlement (insurance, lawsuit), or other judgment during a
perkod of incarceration, he shall be required to apply the value of such resources to any outstanding restitution or

fine

[] The court makes the following recommendations to the Bureau of Prisons:

Ch The defendant is remanded to the custody of the United States Marshal.

CI The defendant shall surrender to the United States Marshal for this district:

OO at Oam  C) pm. on
1 _asnotified by the United States Marshal.

 

[The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

OO sbefore 2 p.m. on

 

[Jas notified by the United States Marshal.

CZ sas notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

Defendant delivered on ta

 

 

 

 

, with a certified copy of this judgment.

 

UNITED STATES MARSHAI-

By

 

DEPUTY UNITED STATES MARSHAL

 

 
. Case 1:99-cr-00131-RJA-LGF Document 1249 Filed 12/12/05 Page 3 of 6

AQ 248B , (Rev. 12/03) Judgment in a Criminal Case P4880 MJQ/sb
. Sheet 3 — Supervised Release

Judgment—Page 3 of 6

 

DEHENDANT: MOHAMED ABUHAMRA
CASE NUMBER: 1:99CR0013 1-004

SUPERVISED RELEASE

Upof release from imprisonment, the defendant shall be on supervised release for aterm of: three (3) years on each count to
be s@rved concurrently.

 

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custddy of the Bureau of Prisons.

The lefendant shall not commit another federal, state or local crime.

‘The Refendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
subsance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
therdafter, as determined by the court.

KX] |The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

[X] |The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
{X] |The defendant shall cooperate in the collection of DNA as required by the Justice for All Act of 2004. (Check, if applicable.)
(1 |The defendant sha!l register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)
(1 |The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Sch@dule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with anyadditional conditions
on tBe attached page.

STANDARD CONDITIONS OF SUPERVISION

i the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer and shali submit a truthful and complete written report within the first five days of
eaco month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,
44 the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

64% the defendant shall notify the probation officer at least ten days prior to any change in residence or employment,

7} the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphemalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9} the defendant shali not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer,

10] the defendant shal! permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11] the defendant shali notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12— the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13] as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the

defendant’s compliance with such notification requirement.

 

 
 

- Case 1:99-cr-00131-RJA-LGF Document 1249 Filed 12/12/05 Page 4 of 6

AQWBB, (Rev. 12/03) Judgment in a Criminal Case PAS8O MJQvsb
. Sheet 3C — Supervised Release

Judgment—Page 4 of 6

 

DERENDANT. MOHAMED ABUHAMRA
CASE NUMBER: 1:99CRO013 1-004

SPECIAL CONDITIONS OF SUPERVISION

 

TheJdefendant shall provide the U.S. Probation Office with access to any requested personal and/or business financial
i ation, The U.S. Probation Office is authorized to release pre-sentence and post-sentence financial information submitted
by tle defendant to the U.S. Attorney’s Office for use in the collection of any unpaid fine or restitution. If restitution or a fine
is ofed, the defendant shall notify the U.S. Probation Office of any assets received and shall not disburse his interest in any
assefs, including, but not limited to, income tax refunds, inheritance, insurance and lawsuit settlements, or gambling winnings
ut the approval of the U.S. Probation Office.

 
 

Whife a fine or restitution balance is outstanding, the defendant shall not incur any form of debt including, but not limited to, use
of efisting credit cards, new credit cards, lines of credit, mortgages or private loans without the approval of the U.S. Probation
Offife.

The#lefendant shalt submit to a search of his person, property, vehicle, place of residence or any other property under his contro]
and pennit confiscation of any evidence or contraband discovered.

 

 
Case 1:99-cr-00131-RJA-LGF Document 1249 Filed 12/12/05 Page 5 of 6

 

DE

 

AO 249B ‘ (Rev. 12/03} Judgement in a Criminal! Case P4880 MIQ/sh
, Sheet 5 — Criminal Monetary Penalties
Judgment — Page 3 of 6
NDANT: MOHAMED ABUHAMRA
> NUMBER: 1:99CR0013 1-004

CA

CRIMINAL MONETARY PENALTIES

Phe defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution

TOTALS §$ 100 on Count | $ 0 $ $288,597

and $50 on each of Counts 2,4 & 5
for a total of $250

 

 

Statd

Statq

TOT

* Fj
Sep

he determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
fter such determination.

‘he defendant must make restitution (including community restitution) to the following payees in the amount listed below.

f the defendant makes a partial payment, cach payee shal] receive an approximately roportioned payment, unless specified otherwise in
e priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(), all nonfederal victims must be paid
efore the United States is paid.

Total Loss* Restitution Ordered Priority or Percentage
of New York $144,298.50 $144,298.50
of Michigan $144,298.50 $144,298.50
ALS $ 288,597.00 $ 288,597.00

Restitution amount ordered pursuant te plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived forthe [1 fine restitution.
[] the interest requirement forthe ] fine [] restitution is modified as follows:

dings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
mber 13, 1994, but before April 23, 1996.

 

 
. Case 1:99-cr-00131-RJA-LGF Document 1249 Filed 12/12/05 Page 6 of 6

AO249B . (Rev. 12/03) Judgment in a Criminal Case P4880 MIQisb
, Sheet 6 — Schedule of Payments

Judgment --- Page 6 of o
DERENDAN ": MOHAMED ABUHAMRA
CASE NUMBER: 1:99CRO013 1-004

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A [C0] Lump sum payment of $ due immediately, balance due

C1 © not later than , or
0 _- sin accordance Oe OB, O E,or [IF below; or

&] Payment to begin immediately (may be combined with LIC, LD, or F below); or
Cc FO) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment, or
D FO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to 4

term of supervision; or

£ |) Payment during the term of supervised release will commence within (c.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F |] Special instructions regarding the payment of criminal monetary penalties:

The defendant shal! pay a special assessment of $100 on Count | and $50 on each of Counts 2,4 & 5 for a total of $250 which
shall be due immediately. If incarcerated, payment shall begin under the Bureau of Prisons Inmate Financial Responsibility
Program. Payments shall be made to the Clerk, U.S. District Court, Autention: Finance, Room 304, United States Courthouse, 68
Court Street, Buffalo, New York 14202,

Pursuant to 18 U.S.C, §3663A, it is ordered that the defendant make restitution in the amount 0f$144,298.50 to New York State
and $144,298.50 to the State of Michigan. ‘The restitution is due immediately, Interest on the restitution is waived. While
incarcerated, if the defendant is non-UNICOR or UNICOR grade 5, the defendant shall pay installments of $25 per quarter. if
assigned grades | through 4 in UNICOR, the defendant shall pay installments of 50% of the inmate's monthly pay. After
considering the factors set forth in 18 U.S.C. §3664(1)(2), while on supervised release, the defendant shall make monthly
payments at the rate of 10% of monthly gross income.

imafisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia

inf the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
Regponsibility Program, are made to the clerk of the court.

Thd defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

CF Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

CO The defendant shall pay the cost of prosecution.

(OY The defendant shall pay the following court cost(s).

 

COL The defendant shall forfeit the defendant’s interest in the following property to the United Statcs:

Pafments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
ties, and (8) costs, including cost of prosecution and court costs.

(54 fine interest, (6) community restitution, (7) pena

 

 

 
